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Fill in this information to identify the case:

Debtor 1 Brian J. Goodman, Sr.

Debtor 2
(Spouse, if filing)

                                                                              NEW
United States Bankruptcy Court for the:                           District of HAMPSHIRE
                                                                           (State)

Case number 25-10233-KB



Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges 12/16

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor’s
principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy filing that you
assert are recoverable against the debtor or against the debtor’s principal residence.

File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.


 Name of creditor:               U.S. Bank Trust Company, National                   Court claim no. (if known)         11
                                 Association, Not In Its Individual Capacity
                                 But Solely In Its Capacity As Indenture
                                 Trustee Of CIM Trust 2025-NR1***

 Last four digits of any number you                XXXXXX6147
 use to identify the debtor’s account:

 Does this notice supplement a prior notice of postpetition fees, expenses,
 and charges?
    No
    Yes. Date of the last notice:

 Part 1:               Itemize Postpetition Fees, Expenses, and Charges

 Itemize the fees, expenses, and charges incurred on the debtor's mortgage account after the petition was filed. Do not include any escrow
 account disbursements or any amounts previously itemized in a notice filed in this case or ruled on by the bankruptcy court.
         Description                                                                      Dates incurred                                Amount

 1.      Late charges                                                                                                            (1)    $           0.00
 2.      Non-sufficient funds (NSF) fees                                                                                         (2)    $           0.00
 3.      Attorney fees                                                                                                           (3)    $           0.00
 4.      Filing fees and court costs                                                                                             (4)    $           0.00
 5.      Bankruptcy/Proof of claim fees                                                                                          (5)    $           0.00
 6.      Appraisal/Broker's price opinion fees                                                                                   (6)    $           0.00
 7.      Property inspection fees                                                                                                (7)    $           0.00
 8.      Tax advances (non-escrow)                                                                                               (8)    $           0.00
 9.      Insurance advances (non-escrow)                                                                                         (9)    $           0.00

 10. Property preservation expenses. Specify:         _____________                                                              (10)   $           0.00
 11. Other. Specify:          Plan Review                                                 5/1/2025                               (11)   $        $350.00



 The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
 See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.

 If the court has previously approved an amount, indicate that approval in parentheses after the date the amount was incurred.




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 Debtor 1        Brian J. Goodman, Sr.                                              Case number (if known)      25-10233-KB
                 First Name   Middle Name Last Name



 Part 2:          Sign Here

 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number if different from the notice address listed on the proof of claim to which this Supplement applies.
 Check the appropriate box.

  I am the creditor.
  I am the creditor’s authorized agent.

 I declare under penalty of perjury that the information provided in this Notice is true and correct to the best
 of my knowledge, information, and reasonable belief.

            X     /s/Reka Beane                                                                         Date       06/30/2025
                  Signature

 Print:           Reka                                                     Beane                        Title      Authorized Agent
                  First Name                   Middle Name                 Last Name

 Company          McCalla Raymer Leibert Pierce, LLP

 Address          1544 Old Alabama Road
                  Number           Street
                  Roswell                              GA                   30076
                  City                                 State                ZIP Code

 Contact phone           954-332-9370                                           Email       Reka.Beane@mccalla.com


***Please note Creditor is in the process of filing a Transfer of Claim to reflect Creditor as the Transferee of this Claim. However, this
Postpetition Mortgage Fees, Expenses, and Charges is being filed to ensure Creditor’s compliance with Fed. R. Bankr. P. 3002.1.




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                                   UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF NEW HAMPSHIRE


 In re:                                                                   )
                                                                          )      Case No. 25-10233-KB
 Brian J. Goodman, Sr.                                                    )      Chapter 13
                                                                          )
                                                                          )      JUDGE: Kimberly Bacher


                                                               EXHIBIT B

                                                   ITEMIZATION OF CLAIM
 Other                                                                                                                          $350.00

               05/01/2025                                       Review and Analysis of                               $350.00
                                                                Schedules, Plan, Docket, Loan
                                                                Docs




  TOTAL POSTPETITION FEES, EXPENSES, AND CHARGES:                                                                              $350.00

The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid. See 11
U.S.C. § 1322 (b)(5) and Bankruptcy Rule 3002.1
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                                                      Bankruptcy Case No.: 25-10233-KB
  In Re:                                              Chapter:             13
           Brian J. Goodman, Sr.                      Judge:                Kimberly Bacher

                                   CERTIFICATE OF SERVICE

      I, Reka Beane, of McCalla Raymer Leibert Pierce, LLP, 1544 Old Alabama Road,
Roswell, GA 30076, certify:

       That I am, and at all times hereinafter mentioned, was more than 18 years of age;

       That on the date below, I caused to be served a copy of the within NOTICE OF
POSTPETITION MORTGAGE FEES, EXPENSES, AND CHARGES filed in this bankruptcy
matter on the following parties at the addresses shown, by regular United States Mail, with proper
postage affixed, unless another manner of service is expressly indicated:

Brian J. Goodman, Sr.
40 Hall St.
Concord, NH 03301

Kathleen McKenzie                            (Served via ECF Notification)
81 S State St
Concord, NH 03301

Lawrence P. Sumski                           (Served via ECF Notification)
Trustee
32 Daniel Webster Highway
Suite 15
Merrimack, NH 03054

Office of the U.S. Trustee                   (Served via ECF Notification)
James C. Cleveland Building
53 Pleasant Street
Suite 2300
Concord, NH 03301

     I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE
AND CORRECT.

 Executed on:      06/30/2025       By:   /s/Reka Beane
                     (date)               Reka Beane
                                          Authorized Agent for Creditor
